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U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

Tampa Field Office

S01 East Polk St, Suite 1000
Tampa, FL 33602

(800) 669-4000

Website: www.ceoc.gov

DETERMINATION AND NOTICE OF RIGHTS
(This Notice replaces EEOC FORMS 161 & 161-A)

To: Christine Sereni-Massinger

Charge No: 511-2023-02229

EEOC Representative and email: WILLIAM WINNINGHAM
Investigator
william.winningham@eeoc. gov

DETERMINATION OF CHARGE

The EEOC issues the following determination: The EEOC will not proceed further with its
investigation and makes no determination about whether further investigation would establish
violations of the statute. This does not mean the claims have no merit. This determination does not
certify that the respondent is in compliance with the statutes. The EEOC makes no finding as to
the merits of any other issues that might be construed as having been raised by this charge.

NOTICE OF YOUR RIGHT TO SUE

This is official notice from the EEOC of the dismissal of your charge and of your right to sue. If
you choose to file a lawsuit against the respondent(s) on this charge under federal law in federal
or state court, your lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice.
Receipt generally occurs on the date that you (or your representative) view this document. You
should keep a record of the date you received this notice. Your right to sue based on this charge
will be lost if you do not file a lawsuit in court within 90 days. (The time limit for filing a lawsuit
based on a claim under state law may be different.)

If you file a lawsuit based on this charge, please sign-in to the EEOC Public Portal and upload the
court complaint to charge 511-2023-02229,

On behalf of the Commission,
Digitally signed by Tamra
\ ta Ss fio Schweiberger
Seheaibype Date: 2023.05.19 14:41:49

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Director

EXHIBIT A

